      Case 2:17-cv-06972-JGB-KK Document 44 Filed 07/01/21 Page 1 of 3 Page ID #:747
                                                                                                                               FILED
                                                                                                                     CLERK, U.S. DISTRICT COURT


                                         UNITED STATES DISTRICT COURT                                                     7/1/2021
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                NP
                                         NOTICE OF D OCUMENT DISCREPANCIES
                                                                                                                    BY: ___________________ DEPUTY




 To: lil U.S. District Judge /   □ U.S. Magistrate Judge   --------------------------
                                                           Bernal
 From: L. Murray                                                , Deputy Clerk           Date Received: 06/24/2021
 Case No.: 2:17-cv-06972-JGB-KKx                        Case Title: United States of America et al v. Ojai Valley Community Hos
 Document Entitled: Declaration of Frank Adomitis Regarding New Counsel


 Upon the submission of the attached document(s), it was noted that the following discrepancies exist:
                   □ Local Rule 5-4.1      Documents must be filed electronically
                   □ Local Rule 6-1        Written notice of motion lacking or timeliness of notice incorrect
                   D Local Rule 7-19.1     Notice to other parties of ex parte application lacking
                   □ Local Rule 7.1-1      No Certification of Interested Parties and/or no copies
                   □ Local Rule 11-3.1     Document not legible
                   D Local Rule 11-3.8     Lacking name, address, phone, facsimile numbers, and e-mail address
                   D Local Rule 11-4.1     No copy provided for judge
                   D Local Rule 11-6       Memorandum/brief exceeds 25 pages
                   D Local Rule 11-8       Memorandum/brief exceeding 10 pages shall contain table of contents
                   D Local Rule 15-1       Proposed amended pleading not under separate cover
                   D Local Rule 16-7       Pretrial conference order not signed by all counsel
                   □ Local Rule 19-1       Complaint/Petition includes more than 10 Does or fictitiously named parties
                   D Local Rule 56-1       Statement of uncontroverted facts and/or proposed judgment lacking
                   □ Local Rule 56-2       Statement of genuine disputes of material fact lacking
                   D Local Rule 83-2.5     No letters to the judge
                   Ill Fed. R. Civ. P. 5   No proof of service attached to document(s)
                   lil Other: Case Termed 10/31/2018


     Please refer to the Court's website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

                                        ORDER OF THE JUDGE/MAGISTRATE JUDGE
 IT IS HEREBY ORDERED:

 □    The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
      "received but not filed" with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
      lead to penalties pursuant to Local Rule 83-7.


      Date                                                      U.S. District Judge / U.S. Magistrate Judge

4...rf The document is NOT to be filed, but instead REJECTED, and is ORDERED returned to counsel.*                  Counsel* shall
/     immediately notify, in writing, all parties previously served with the attached      cum     s    a said documents have not
      been filed with the Court.
        July 1, 2021
      Date
 * The term "counsel" as used herein also includes any pro se party. See Local Ru e 1-3.
         COPY 1 -ORIGINAL-OFFICE        COPY 2 -JUDGE       COPY 3 -SIGNED & RETURNED TO FILER         COPY 4 -FILER RECEIPT

 CV-104A (06/13)                             NOTICE OF DOCUMENT DISCREPANCIES
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Case 2:17-cv-06972-JGB-KK Document 44 Filed 07/01/21 Page 3 of 3 Page ID #:749
